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                     IN THE UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF MARYLAND


CRAIG SCOTT #30218-037
                                                 :   Civil Action No. CCB-12-259
                                                     Criminal Action No. CCB-95-202
            v.                                   :

UNITED STATES OF AMERICA                     :
                                          oo0oo
                                       MEMORANDUM

         Pending is a Motion to Vacate Set-Aside or Correct Sentence under 28 U.S.C. § 2255. The

Motion is DISMISSED without prejudice for lack of jurisdiction.

   I.       Petitioner’s Claims

         Scott alleges ineffective assistance of counsel based on counsel’s failure to understand the

nature of conspiracy.

   II.      Procedural Background

         Scott was convicted of bank robbery by force or violence. In an amended judgment, he was

sentenced to a total term of 9 months as to counts 1, 2, and 4 with these sentences to run

concurrently with each other and to run concurrently with the unexpired term of the previously

imposed sentence of imprisonment of 87 months as to count 6 in Criminal Number K-94-0281 and

to run consecutively to the 5 year sentence imposed as to count 7 in Criminal Number K-94-0281;

imprisonment for a term of 20 years on Count 3 and 20 years on count 5, said terms to run

consecutively to each other and consecutively to the sentence of 9 months imposed as to counts 1, 2,

and 4; supervised release for a term of 3 years; and an assessment $250.00. ECF No. 173. His

appeal was dismissed. ECF No. 183.

         This court denied Scott’s first 28 U.S.C. § 2255 motion, docketed as Civil Action No. CCB-

03-1957. See ECF No. 214. The Fourth Circuit denied Scott’s certificate of appealability and

dismissed the appeal. ECF No. 236.
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   III.      Analysis

          This petition represents Scott’s second § 2255 challenge to his conviction and sentence. It

may not be considered absent prefiling authorization from the Fourth Circuit. See 28 U.S.C.

''2244(b)(3)(A)& 2255; In re Avery W. Vial, 115 F.3d 1192, 1197-98 (4th Cir. 1997) (en banc).

Such authorization does not appear to have been granted.             Accordingly, the motion will be

dismissed without prejudice for lack of jurisdiction.

   IV.       Certificate of Appealability

          Pursuant to Rule 11(a) of the Rules Governing Proceedings Under 28 U.S.C. §2255, the

court is required to issue or deny a certificate of appealability when it enters a final order adverse to

the applicant. A certificate of appealability is a “jurisdictional prerequisite” to an appeal from the

court's earlier order. United States v. Hadden, 475 F.3d 652, 659 (4th Cir. 2007). A certificate of

appealability may issue “only if the applicant has made a substantial showing of the denial of a

constitutional right.” 28 U.S.C. § 2253(c)(2). Where the court denies petitioner's motion on its

merits, a petitioner satisfies this standard by demonstrating that reasonable jurists would find the

court's assessment of the constitutional claims debatable or wrong. See Slack v. McDaniel, 529 U.S.

473, 484 (2000); see also Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003). Where a motion is

denied on a procedural ground, a certificate of appealability will not issue unless the petitioner can

demonstrate both “(1) that jurists of reason would find it debatable whether the petition states a

valid claim of the denial of a constitutional right and (2) that jurists of reason would find it

debatable whether the district court was correct in its procedural ruling.” Rose v. Lee, 252 F.3d 676,

684 (4th Cir.2001) (quotation marks omitted). Scott does not satisfy this standard. Denial of a

certificate of appealability, however, does not prevent a petitioner from seeking pre-filing

authorization for a successive motion under 28 U.S.C. § 2255.

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Conclusion

       For the foregoing reasons, the motion to vacate, set aside or correct sentence will be

dismissed without prejudice for lack of jurisdiction and a certificate of appealability will not issue.

A separate order follows.


January 31, 2012                                     _______________/s/_________________
Date                                                 Catherine C. Blake
                                                     United States District Judge




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